Case 2:08-cr-00327-SRC     Document 312   Filed 09/04/09      Page 1 of 10 PageID: 1382




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                  :       HON.     STANLEY R.   CHESLER


         v.                                :       Crirn.    No.   08-327(SRC)


 ANDREW MEROLA,    ET AL.                  :       ORDER



         This matter having been opened to the Court on the joint

 application of the United States of America and the defendants

 (through their respective counsel),           for an order declaring this

 matter to be a complex case pursuant to Title 18,                 United States

 Code,    Section 3161(h) (8) (B) (ii); and the Court having considered

 the arguments of counsel;      and the defendants being aware that

 absent such a finding they would have a right to be tried within

 seventy days of their first appearance in this district in

 connection with this matter,      pursuant to 18 U.S.C.           § 3161(c) (1);

 and the charges being the result of a lengthy investigation and

 the defendants needing sufficient time to review extensive

discovery and to investigate the charges and file motions in this

case; and Ralph J. Marra,       Jr., Acting United States Attorney for

the District of New Jersey       (Ronald D. Wigler, Assistant U.S.

Attorney,     appearing)   having concurred in the assertion that this

matter is complex as defined in the statute;                and the Court having

found that an order granting a continuance of the proceedings in
Case 2:08-cr-00327-SRC   Document 312   Filed 09/04/09    Page 2 of 10 PageID: 1383




 the above-captioned matter should be entered,           and for good and

 sufficient cause shown,

      IT IS THE FINDING OF THIS COURT that this action should be

 continued for the following reasons:

      1.   This case involves allegations of racketeering that

 occurred over several years.

      2.   The discovery in the case is voluminous,          in that it

 includes, among other things,    over 39,000 wire intercepts and the

 execution of numerous searches.

      3.   The defendants and their counsel need time to review the

 extensive discovery in this matter.

      4.   In light of the allegations,     the defendants need

 sufficient time to investigate the charges.

      5.   In light of the discovery and depending upon the results

of their respective investigations,      each defendant will need time

 to determine whether or not to file motions in this matter and

what motions should be filed.

      6.   In light of these findings, and given the nature of the

case and its complexity,     it is unreasonable to expect adequate

preparation for pretrial proceedings or the trial itself within

 the time limits established under the Speedy Trial Act.

      7.   The defendants consent to the aforementioned

continuance.




                                    3
Case 2:08-cr-00327-SRC    Document 312     Filed 09/04/09   Page 3 of 10 PageID: 1384




         8.   The grant of a continuance will enable counsel for the

 defendants to adequately review the discovery,             prepare motions

 and proceed with trial.

         9.   Pursuant to Title 18 of the United States Code,          Section

 3161(h) (8),    the ends of justice served by granting the

 continuance outweigh the best interests of the public and the

 defendants in a speedy trial.

         WHEREFORE,   it is on this    )    day of September, 2009

         ORDERED that the this matter is hereby designated a complex

 case;

         IT IS FURTHER ORDERED THAT the proceedings in the above-

 captioned matter are continued from September 4,             2009 until

 October 30,    2009;

         IT IS FURTHER ORDERED that the period between September 4,

 2009 and October 30,     2009 shall be excludable in computing time

 under the Speedy Trial Act of 1974;

         IT IS FURTHER ORDERED that the defendants shall file their

motions no later than October 30,          2009; and

         IT IS FURTHER ORDERED that a schedule of proceedings in this

matter shall be set once the defendants’ motions have been filed.




                                           STANLEY R. CHESLER
                                      United States District Judge


                                       4
                          ___


    _
____




 Case 2:08-cr-00327-SRC        Document 312   Filed 09/04/09   Page 4 of 10 PageID: 1385




Fcrr and entrv
cnseriteci no:



RonaLd 0.
                rj   or rorr



          2 -



Savatore     fiaao, Esq
Counse  for deEenJan




Peter R, Willis, Rsq.
Coun..se2. for de.fendanr      vle Ra.5uSo




 Maria DeiGraizo Noto,    Eso.
 Counsel    for defendant Martin Tacuetta




 Marc       Leibman, Esq.
 Counsel    for defendant Edward Deck




 Henry E. Klincernan, Ran.
 Counsel for defao:ian: N:




 Chrisnorher 0. Adans,         Esa.
 Counsel for defendair         Joseoh Na:neilo




 Alan 0.    Zeqas, Eu.
 Counsel    for defendanr      John Caraldo
Case 2:08-cr-00327-SRC   Document 312       Filed 09/04/09   Page 5 of 10 PageID: 1386




 Form and entry
 consented to:



 Ronald D. Wigler
 Assistant U.S. Attorney



  Salvatore T. Aflano, Esq
  Counsel for defendant Andrew Merola



  Peter R   illis, Esq.
  Counsel for defendant Kyle Ragusa



  Maria DeiGraizo Noto, Esq.
  Counsel for defendant Martin Taccetta



  Marc E. Leibmari, Esq.
  Courzel for defendant Edward Deak



  Henry E. Klingeman, Esq.
  Counsel for defendant Michael Urgola



  Christopher D. Adams, Esq.    —




  Counsel for defendant Joseph Mantella



  Alan L. Zega.,Esq.
  Counsel for defendant John Cataldo




                                        5




                                                                               TDTL P.02
Case 2:08-cr-00327-SRC   Document 312     Filed 09/04/09   Page 6 of 10 PageID: 1387




         nd entry
    consented to:



    flonald D Wigler
    As5istant u.S. Attorney



    Salvatore T. Aflano, Esq
    Counsel for defendant Andrew Merola



    Peter !          Faq,
                defendant KYle Ragua
       nself


    Maria ee±rei. -Neto, Eeq.
    Counse,for defendant Martin Taccetta



    Marc E, Leibxnan, Esq.
    Coinse]. for defendant Edward Deak



             1 ‘q.
    cnry !. Klingcaar
    Counsel for defendant Michael UrgoJ.a.



    Christopher b. Adams, Esq.
    Counsel for defendant Joseph 1aniella



    Alan L. Zegaa, Eq.     -




    Ct:unse1 for defendant John Cataldo   *




                                     5
Case 2:08-cr-00327-SRC   Document 312       Filed 09/04/09   Page 7 of 10 PageID: 1388




    Form and entry
    consented to:



    Ronald D. Wigler
    Assistant u.S. Attorney



    Salvatore T. Aflano, Esq
    Counsel for defendant Andrew Merola



    Peter R. Willi5, Esq.
    Counsel for defendant Kyle Ragusa



    Maria DeiGraizo Noto, Esq.
    Counsel for defendant Martin Taccetta



    Marc E. Leibman, Esq.  fwYj...O
    Counsel for defendant Edward Deak



    Henry E, Klingeman, Esq.
    Counsel for defendant Michael tirgola



    Christopher D. Adams, Esq.
    Counsel for defendant Joseph Manzella



    Alan L. Zegas, Esq.
    Counsel for defendant John Cata].do




                                        5
Case 2:08-cr-00327-SRC   Document 312   Filed 09/04/09   Page 8 of 10 PageID: 1389




 Form and entry
 consented to:



 Ronald D. Wigler
 Assistant U.S. Attorney



 Salvatore T. Aflano, Esq
 Counsel for defendant And.rew Meroia



 Peter R. Willis, Esq.
 Counsel for defendant Kyle Ragusa



 Maria DeiGraizo Noto, Esq.
 Counsel for defendant Martin Taccetta



 Marc E. Leibman, Esq.
 Counsel fo defendant Edward Deak



Henry E. Klingeman, Esq.
Counsel for defendant Michael tjrgola



Christopher D. Adams, Esq.
Counsel for defendant Joseph Manzella



Alan L. Zegas, Esq.
Counsel for defendant John Cataldo




                                   5
Case 2:08-cr-00327-SRC     Document 312   Filed 09/04/09   Page 9 of 10 PageID: 1390




         tnd entry
    consented to:



   Ronald D.Wigler
   Assistant U.S. Attorney



    SalvatoreT. Aflano, Esq
    Cnunsel for defendant Andrew tlero.ia



    Peto R. Wil1i Eq.
    Counsel for defendant Kyle Ragusa



   Maria DeiGraizo Noto,         Esq.
   Counsel for defendant Nartin Taccetta



    Marc E. Leibman, Esq.          -.




    Counsel for defendant Edward peak



    !!nry f. Kline.n, q.
    Counse fo de enda   ichael Urgola.



    çh        r   •      arns,   Esq.
    Co   el for   ef     dent Joseph Manzella



    Alan L. Zegas, Esq.
    Curie1. for defendant John Cataldo
Case 2:08-cr-00327-SRC   Document 312   Filed 09/04/09   Page 10 of 10 PageID: 1391




   Form and entry
   consented to



  Ronald D. Wigler
  Assistant U.S. Attorney



  Salvatore T. Aflano, Esq
  Counsel for defendant Andrew Merola



  Peter R, Willis, Esq.
  Counsel for defendant Kyle Ragusa



  Maria DeiGraizo Noto, Esq.
  Counsel for defendant Martin Paccetta



  Marc E. Leibman, Esq.
  Counsel for defendant Edward Deak



  Henry E. Klingeman, Esq.
  Counsel for defendant Michael Urgola




 Alan L. Zegas, Esq
 Counsel for defendant John Cataldo




                                    5
